Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 1 of 26 PageID 13892

Case 8:03-cr-00077-JSM-TBM Document 1160

Filed 06/05/2005

Page 1

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

Government xX

Vv. Case No. 8:03-CR-77-T-30TBM
SAMI AMIN AL-ARIAN, ET AL. _.._-Evidentiary
xX Trial
Other
Defendant
EXHIBIT LIST
Exhibit Date Date
Number | Identified | Admitted Witness Description
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4 eB JUN 7009 Mun cea” A yar OF One tan colored ICP pamphlet in Arabic
1B279

T-4 English translation of above exhibit

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1B279

T-2 English transtation of above exhibit

3 6 N\ Une A Paya \ One red colored ICP pamphiet in Arabic
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T-3 English translation of above exhibit

4 hM WEL A ra Ve 4 One green ICP pamphiet in Arabic
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T-4 English translation of above exhibit

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f PURI EEY A cal cx T | One blue ICP pamohlet in Arabic

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T-5 English translation of above exhibit

Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 2 of 26 PageID 13893

Case 8:03-cr-00077-JSM-TBM Document 1160 Filed 06/05/2005 Page 2

Case Number: 8:03-CR-77-T-30TBM

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7 FGJ testimony - relevant portions
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ey ak mt} ee
8 sb jy 200 era Risa Ars Copy of Pld Chapter fram book
9 . Declaration of Ziad Abu Amr for MAN INS
g wp opel ne Ahacs EXnape | hearing-Exhibit 22
cal BBC iad Abo Amr (USAO 903157-903164)
10-A . 1995 IEEPA Designation of PlJ, FS, AAAA
O4 AUG DE verre YY A y cf £4 | as SDT - The President's Executive Order
. 12947
40-B A net one 1995 IEEPA Designation of Plu, FS, AAAA
Op Sor aay as SDT - 60 Fed. Reg. 5084
10-C ® ¢ oT 2008 1995 IEEPA Designation of PlJ, FS, AAAA
“eer as SDT - 60 Fed. Reg. 58435
11 1997 Designation of PiJ as a DFTO - 62 Fed.
Reg. 52650
12 s A ser MES Articles of Incorporation for ICP filed with the
fp eee” State of Florida on 10/20/88
43 Antictes of Incorporation for WISE filed with
the State of Florida on 02/21/91
14 5) HIN 20ne Th Gyrices FLEE Fe | Articles of Incorporation for IAF filed with the
State of Florida on 08/24/92

Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 3 of 26 PagelD 13894

Case Number:

15

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:03-CR-77-T-30TBM

Page 3 of 234 Pages

Jove zal Themas Me fle

Articles of Incorporation for ICT filed with the
State of Florida on 09/19/92

16

qe 05 |Timethy Shavers

‘Sample INS Form I-94

17-A

Plus 2005 Tr mot hy Shavers

INS Form N-400, Application for
Naturalization for SAA, dated 12/30/93
Acquired From AXXXXXXXX (CT 44) (OA 30) |

17-B

5) Timothy Shavers

INS Form |-485, Application for Status as
Permanent Resident for SAA, dated
01/08/88

Acquired From AXXXXXXXX (CT 44) (OA 30)

17-C

anne: Th moth y Shavers

Photocopy of INS Form 1-94, Approval and

Departure Record for SAA
Acquired From AXXXXXXXX (CT 44) (OA 30)

17-D

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Photocopy of INS Form 1-555, Resident Alien
Card for SAA
Acquired From AXXXXXXXX (CT 44) (OA 30)

17-E

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Timeth Y Shavers

INS Ferm 1-181, Memorandum of Creation of
Record of Lawful Permanent Residence for
SAA

18-A

0 |

r JUN 2005 Timothy Shavers

INS Form |-129 Petition for Non-Immigrant
Worker and attachments, dated 09/08/93, by
WISE for RAS

Acquired from 473228391 {OA 21)

18-B

BUN snogy Piume thy Shaver &

INS Form [-380, Petition for Special Worker,
dated 09/10/94, by ICT for RAS
Acquired from AXXXXXXXX

18-C

(SN RSTT mothy Shavers

H-1Visa, Found in Egyptian Travel Document
Acquired from AXXXXXXXX

18-D

Timethy Shavers

INS Entry Documents for RAS

19-A

ney cee [Ta prot y Shavers

INS Record showing STH entering U.S. on
12/23/92 with a B-2 Visa

Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 4 of 26 PagelD 13895

Case Number:

8:03-CR-77-T-30TBM

19-B

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imath Y Shavers

Page 4 of 234 Pages

INS Form 1-485, Application to Register
Permanent Residence and Supporting
Documents for STH dated 03/16/00

Acquired from AXXXXXXXX (CT 45)

20

Timethy Shavers

INS Form |-140, Petition for Alien Worker
and Supporting Documents, dated 06/21/93.
by WISE for MAN

Acquired from AXXXXXXXX (OA 28)

21-A

p JUN 2005

Timolhy Shavers

INS Form |-129, Petition for Non-Immigrant
Worker and Attachments, dated 09/13/92, by
WISE for BMN

Acquired From AXXXXXXXX (OA 20)

21-B

one Tr moth y Shauc( Ss

INS Form {-140, Immigrant Petition for Alien
Worker with Attachments and Supporting
Documents, dated 07/03/95, by WISE for
BMN

Acquired From AXXXXXXXX

(OA 220) ||

Timothy Shavers

INS Form [-129 and Attachments and
Supporting Documents; Petition for Non-
Immigrant Worker, dated 08/25/95, by WISE
for BMN

Acquired From AXXXXXXXX

21-D

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Timoeth y Shevcrs

Affidavit to INS by MAN in Support of i-140
WISE Petition for BMN

Acquired From AXXXXXXXX (OA 224)

21-E

Th moth y Shéve re

An INS Order to Show Cause and Notice of
Hearing, dated 06/26/96, in the matter of
Bashir Nafi, a/k/a Anmed Sadiq

|
|

ITimolh y Shavers

INS Form N-400, Application to File Petition
for Naturalization, for GZB dated 10/11/91
Acquired from AXXXXXXXX (OA 10)

Certified copy of Florida Driver's License of
SAA

Bred

Kerry Myers

Certified copy of Florida Driver's License of
HNF

Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 5 of 26 PagelD 13896

Case Number:

8:03-CR-77-T-30TBM

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23-C Certified copy of Florida Driver's License of
STH
23-D Certified copy of Florida Drivers’ License of
_MAN
23-E Tt ro Th Y Sheaves | Egyptian Travel document for Palestinians
bs cs issued to RAS
GC @ ol: ; INS A-File
23-F wa, hauer & VA Driver's License (the actual card) of BMN
GB uy ceesf Lie Inky Shavers INS A-File
93.G GZB photo dated 02-20-03 |
24 B GUN fA d (AY) | Lease between Creative Graphics and Alvi
i + 2008 Cra lal Kam Construction
25 4 8]J08 22 | MP\ar k ore 11/12/91 letter from RAS to USF regarding
WISE
26 4 nS FEY A avila Oo rr 12/11/91 letter from RAS to USF regarding
WISE
27 43 JN mM Lark ort 03/92 Agreement between USF and WISE
28 06/95 letter from SAA to USF refuting The
Tampa Tribune article
29-A 4 B JUN pnp pan re} jeabierser] Cover sheet and report to WISE, dated
08/16/93, regarding assets, revenue and
expenses
29-B 205 Panter Eacicrsd rm) Handwritten statement of WISE revenues
and expenses for fiscal year ending 09/31/93
7 Pot eT)
fed PARLE. olTeyse " "
30-A Danmvel ha Poee IRS Notice of Assignment of EIN number to
. WISE, dated 05/13/91
VIVe COTET SOT
30-B APS DaMe COSTES] WISE USF Cooperative Agreement

Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 6 of 26 PagelID 13897

8:03-CR-77-T-30TBM Page 6 of 234 Pages

Case Number:

coset Pani e_| Paul vl€isey? | Nationsbank Statement, dated 07/30/93, for
“ee WISE account, showing a balance of
$78,244.23
30-D 4 TUN 2008 Da nie Ravlerse Nationsbank Statement, dated 02/26/93, for
Bo wUN WISE Account #30 showing $16,000
payment it
30-E 24 QN moslCanvel Cavierse ¥~)| Nationsbank Statement, dated 05/28/93, for
WISE Account #30 showing $15,000
payment
31-A 4 ss lPaniel Kavlersw7 | pie copy of Form 1023 for WISE, Application
. , for 501(c}(3) status
31-B ¢koym anes Dani e\ VaulersoM Fax from RAS to Raulerson, dated 09/07/93,
( 2 UN ZEROS enclosing a letter from IRS
i olen
31-C ab ape esos] Dan t e) v AUlErscy’) | Fax from Raulerson to RAS, dated 09/14/93,
a poe enclosing letter to IRS and Form 8718
31-D yee ae Dani e\ Kavlerscrm Letter from IRS to WISE, dated 11/05/93,
dp ves ees discussing deficiencies in Form 1023
31-E . Pel Vavlerscy 7] Notes of information received from WISE in
<9 708 2085 Danie Kau Crscr) response to Q1 in IRS letter |
32-A BB GUM 2605 A hmc a f | 7 Application to ISNA for Affiliation by ICP,
\- Hy Lb dated 09/15/92, submitted by SAA and MAN,
fla Ha with list of officials
32-B ol pf = Authorization for Group Tax Exemption,
2g fl hye . E submitted to ISNA by ICP, signed by SAA
[+ a MH tK% lo and MAN, dated 09/15/92, with ICP Articles
of incorporation
32-C Ole tes one A hh poe ol IRS Form SS-4, Application for Employer
© ye oe Identification Number, submitted by MSA on
(= | - [-| aw H alo behalf of ICP, undated
32-D s Ab ne wv y 5 dl MSA letter to ICP, undated, advising ICP that
5 at ab it was affiliated with MSA
32-E ole par ane x r mec! | MSA Certification of Affiliation for ICP for
we Sane el - atteb 1992, dated 11/18/92
32-F aed PS hs me . MSA Certificate of Affiliation in letter format
-~Ma Hab for ICP for 1992, signed by Ahmed El-Hattab

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Case Number: 8:03-CR-77-T-30TBM

32-G nd ti one Ahm ed El - He Hak ISNA Certificate of Affiliation in letter format
ed sua 2008 for ICP for 1992, signed by Ahmed El-Hattab

33-A 4 uM f vi cl Aosi\el | international Student Application for
14 ux 2m) Do Admission for STH, dated 02/24/93
1B309

33-B ° | A u Sle | USF Financial Statement for International
Da. Vic — Students for STH, dated 02/23/93, showing

$16,740 on deposit at FUNB

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1B309

33-C cas dyes cl | USF Official Acceptance form, dated
PO Da vi dl /) usl 05/27/93, issued to STH, for 08/93 term

USF Records to INS

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33-D Ted. tcl | USF Financial Statement for International
é Dra vi c| A US | C Students for STH, dated 06/01/93, showing

$24,919.18 on deposit at FUNB

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33-E So yon -acele USF Financial Statement for International
«} sy ars} Da vl cl AUS ell Students for STH, dated 06/02/93, showing
$44,498.27 on deposit at FUNB

1B309

33-F

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INS Form 1-20, dated 06/02/93, submitted by
STH to USF

33-G

Davich Auskl

INS Form 1-20, dated 06/10/93, submitted by
STH to USF

33-H

Davicl Austel |

USF Visa Clearance Form, dated 06/1 0/93,
submitted to INS by USF for STH and STH
I-94 form showing STH entered U.S. asa
B-2 on 12/23/92

1B309

33-1

david Ausle| |

INS 1-797, regarding I-539, dated 06/21/93,
approving request of STH to change visa
status from B-2 to F-4

33-J

Graduate Assistant Appointment for STH,

Sete

£) [U8 2068 De ii ol A ostel showing USF employment starting 08/13/93
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Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 8 of 26 PagelD 13899

Case Number:

34-A

8:03-CR-77-T-30TBM

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USF International student Application for
Admission Form, dated 10/10/94

1B309

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Bay

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USF Financial Statement for International
Students for STH, showing $18,021.41 on
deposit at FUNB, dated 11/01/94

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USF Official Acceptance Form, dated
12/16/94, issued to STH for 08/95 term
, 1B309

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INS Form I-20, dated 02/17/95, by USF, and
signed by STH on 06/08/95, reflecting
$16,780 in available funds

Povicl Austel |

USF Graduate Schoo! application for STH,
dated 02/19/96, applying to Ph.D. program in
Anthropology

aad Pavicl Auste|

USF Office of Admissions form, dated
05/30/96, requesting change to Masters in
Religious Studies

Davicl Juste |

USF Financial Statement for International
Students for STH for 96-97 academic year,
dated 06/06/96, showing $45,521.71 in
deposits at FUNB

36-D

| 35-A
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FUNB letter from Joyce Johnston to
"TWIMC," dated 06/03/96, confirming ICT
accounts

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ICT letter from A.S, Ibrahim to "TWIMC,"
dated 06/04/96, confirming ICT financial
support to STH

35-F

FUNB letter from Debbie Kavouklis to
"TWIMC," dated 06/06/96, confirming a
balance of $9,748.71 in STH's account

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Navid Auste]|

INS Form 1-20, dated 07/10/96, 3 pages:
a) school copy; b) student copy; c) page 4

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Vv i C u ste_| USF Official Acceptance form, dated
Da | f\ | 06/07/97, issued to STH for 08/97 term in

Ph.D program

36-B € careh NA: Oste | USF Financial Statement for International
~ — p AVI cl / } ° 1 | Students for STH, dated 07/25/97, showing
$45,806.46 on deposit at FUNB and
instructions
36-C ef ce | OG “i cl Aus ic { | INS Form 1-20, signed by STH on 07/31/97 |
Bp eee with page 4 listing family members
37-A 8 8 UN 2005 Cler Cn \ ackscint IRS Certificate showing lack of records for
" ICP
37-B 22 JON 20085 CI ort aA Nocksen Nay gotticate showing lack of records for
37-C ele pay cmd ClO a SA clesc i) IRS Certificate showing lack of records for
ffs oS AMCN
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“7 IFP
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38-A SF LR 2B 1C7 onc \acleSerF| irs Certification of Record for Muslim

Student Association and islamic Concern
Project, TIN XX-XXXXXXX

38-B ed ax cee [Colon A Ckeo i-y 'RS Certification of Record for Muslim
co Ct | “ J Student Association, TIN XX-XXXXXXX

38-C E12 208 Gas CH lc yiadSaclese Y TRS Certification of Record for North
American Islamic Trust, TIN XX-XXXXXXX
38-D ele 255 irlona ASO Cleese IRS Certification of Record for Chicago
Islamic Center, TIN XX-XXXXXXX
38-E rar onael(a lov) oO _Nea ckse iy7\ | |RS Certification of Lack of Record for TIN
ef JUN 2008 G | G XX-XXXXXXX, person or entity unknown
SOA la yee anon (C | Orit Nan cle-se ¥~) | Certified copy of Form 1120, U.S. Corporate
eye wee =I Income Tax Return, for WISE, for year
ending 07/31/94
39-Bo eb oek we Calor f Cr Sar cksc f\| Certified copy of Form 1120, U.S. Corporate

Income Tax Return, for WISE, for year
| ending 07/31/95

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Case Number:

8:03-CR-77-T-30TBM

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2 Thomas Miller

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TAK each showing home address of P.O.
Box 21006, Greensboro, N.C. 27420

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42-A 8 M veer Ayata Islam and Palestine

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42-B © Meneer Ar Tn Islam and Palestine

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Newsletter, 04/01/88, with reference to Pld

and ICP
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English translation of above exhibit

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Islam and Palestine

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English translation of above exhibit

Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 11 of 26 PageID 13902

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fa Llormm, VYalev Newsletter, 04/12/89, with a statement from
an 6 25) PL aruR nn Che Ly | AAAA regarding PIJ objectives
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pave | Valco v murders by Nidal Zalloum in Jerusalem on
s nit 7005 Ic lial \ 05/03/89 and a statement of Pld goals by
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42-| Moncer By ote + | isiam and Palestine
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attack on Bus 405 in 07/89
Marwan Ichali| 18432
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42-J aoe Mouncur Preaves+ | istam and Palestine
EIB oo ag Cusith drawn Cavill 3) Newsletter, 09/01/89, with reference to PlJ
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P.O. Box 4375 in Nicosia, Cypress
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IFP fund and announcement of PlJ attack
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T-42-M English translation of above exhibit

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I vnceT A KATA Islam and Palestine
Ham. ka wov Newsletter, 12/31/89, with Pld communiques

and advertisement for IFP fund
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“PT Mareen Chic 1 \ Third ICP Conference, IFP fund and MWS

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English translation of above exhibit

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Case 8:03-cr-00077-CEH-UAM Document 1543 Filed 03/08/06 Page 13 of 26 PageID 13904

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47 Demonstrative Computer Presentation

48-A Aerial photograph of Jaffa Street in
Jerusalem

48-8 Diagram of Jaffa Street

49 Aerial photograph of area where Bus 405
was attacked

50 Aerial photograph of area near Kibuts Gil'ad,
israel (Pitchfork)

51 Aerial photograph of Hula, Lebanon

52 Aerial photograph of Sajaya Junction

53 Aerial photograph of area near Sderot, Israel
(Sudri murder)

54 Aerial photograph of Afula, israel

55 Aerial photograph of Morag Junction

56 Aerial photograph of Netzarim Junction

57 Aerial photograph of Beit Lid

58 Aerial photograph of vicinity of Jenin incident

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59 Aerial photograph of Kfar Darom
|
60 Aetial photograph of Dizengoff Shopping |
Center area
61 Aerial photograph of Mahane Yehuda Market
area (1998)
i
62 Aerial photograph of Mahane Yehuda Market
area (2000) I
63 Aerial photograph and topology of French Hill
64 Aerial photograph of Megiddo Junction
FE
| 65-A Aerial photograph of Karkur Junction
65-B Second aerial photograph of Karkur Junction
66 Aerial photograph with topology of Hebron
67-A Maps and photos of Jaffa St., Jerusalem
67-B Maps and photos of Jaffa St, Jerusalem
67-C Maps and photos of Jaffa St., Jerusalem
67-D Background materials of Jaffa St., Jerusalem
68-A Maps and photos of road area where Bus
405 was attacked
68-B Maps and photos of road area where Bus
405 was altacked
68-C Diagram of public bus

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69-4 Maps and photos of the Kibuts Gifad area
(Pitchfork)

69-B | Maps and photos of the Kibuts Gilad area
(Pitchfork)

69-C Maps and photos of the Kibuts Gil'ad area
(Pitchfork)

69-D Background materials of the Kibuts Gil'ad
area (Pitchfork)

70-A Maps and photos of Hula, Lebanon

70-B

Background materials of Hula, Lebanon

7I-A Maps and photos of Sajaya Junction, Gaza

71-B Background materials of Sajaya Junction,
Gaza

72-A Maps and photos of Sderot, israel

(Sudri murder)

72-8 Maps and photos of Sderot, israel
(Sudri murder) —

72-6 Background materials of Sderot, israel
(Sudri murder)

| TS-A Maps, photos and video of Afula
| 73-B Maps, photos and video of Afula
73-C Background materials of Afula
|
74-A Maps, photos and sketches of Morag
L Junction
74-B Background materials of Morag Junction
15-A Maps, photos and sketches of Netzarim

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75-B Maps, photoes and sketches of Netzarim

75-C Background materials of Netzarim

76-A Maps, photos and video of Beit Lid

76-B Maps, photos and video of Beit Lid

76-C Background materials of Beit Lid

77-A Maps and photos of Jenin area

77-B Background materials of Jenin area

78-A . Maps, photos and diagrams of Kfar Darom

78-B Background materials of Kfar Darom

z

7O-A Maps, photos, drawings and videotape of
Dizengoftf

73-B . Maps, photos, drawings and videotape of
Dizengoft

79-C Maps, photos, drawings and videotape of

Dizengoff

79-D Background materials of Dizengoff

80-A Maps, photos and videotape of Mahane
Yehuda (1998)

80-B Maps, photos and videotape of Mahane
Yehuda (1998)

80-C Background materials of Mahane Yehuda
(1998)

B1-A Maps, photos and videotape of Mahane
Yehuda (2000)

81-B Background materiais of Mahane Yehuda
(2000)

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82-A Maps, photes and videotape of French Hill
82-B Maps, photos and videotape of French Hill
82-C Background materials of French Hill
B3-A Maps and photos of Megidde Junction
83-B Maps and photos of Megiddo Junction
83-C Background materials of Megiddo Junction
84-A Maps and photos of Karkur
84-B Maps and photos of Karkur
84-C Background materials of Karkur
85-A Maps and photos of Hebron
85-B Background materials of Hebron
&6 Packet of 6 photos of crime scene - Jaffa
ST.P.O.
#132319 (OA 2)
87-A Video tape of crime scene at Bus 405 attack
#132615 (OA 3)
87-B Newspaper article (claim of responsibility)
#132166
T-87-B English translation of above exhibit
87-C Packet of 39 photos of crime scene
#132867
87-D Photo of Mita Levine
88-A Crime scene video from Pitchfork attack
{OA 14)

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88-B 18 photos of weapons used in Pitchfork
attack
88-C Data base records showing relatives of
Pitchiork perpetrators Agbarya (three) and
Suleiman
See nex Tyee ter] Exhipits SD— 7.
89-A he Photo of the Three Hula terrorists
(OA 17)
89-B Photes (2) of terrorist's house and view from
terrorists house's roof
90-A Packet of 10 scene photos of Sajaya
Junction
90-B . Two photos of inert device
S1-A Video of crime scene from Sudri murder
132201
91-B Selected photos from crime scene
92-A Video tape (redacted) of Afula bombing
130879
92-B Aerial photo of Afula bomb scene
92-C Packet of 24 crime scene photos (copies)
130887
92-D Diagram of Afula bomb site
92-E Photegraphs of terrorist
92-F Photographs of bus driver
92-6 Before and after photos of Hasiba Ohion
93 Morag Junction - forensics
94-A Video of crime scene at Netzarim Junction
132206

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EXHIBIT LIST
Exhibit Date Date
Number | Identified | Admitted Witness Description
| 88-D 4 eco 2065 rh 155) rye g Abstract from the population registry as of
Af OEE OES CYASSe Sept. 6, 2005, for Ibrahim Agbaria
88-E . Rui SS vy ms Abstract from the population registry as of
vi | YA SEU Aus. 31, 2006, for Zahara
88-F nee 2008 heat a5, bro ~ Abstract from the population registry as of
Vie i=, i / a SSO Aug. 31, 2005, for Rokia Said
88-G = OPP ARE Abstract from the population registry as of
Sept. 6, 2005, for Muhamad Said

88-H ho 'SSi ky Absiract from the population registry as of

EE. | Vire SSO £ Aug. 31, 2005, for Mustafa Agbaria

ARE R/T SS 1 N “ps .
88-1 FIV GSK L Birth certificate for Yichya Agbaria
88-J a af ees MU i SS) ew . Abstract from the population registry as of
* “ cc | yf oS 5a — Sept. 6, 2005, for Yichya Agbaria

88-K wn nm | OY BS yw" . Abstract from the population registry as of

2B SEP foc. ic} yn sok Aug. 31, 2005, for Boushara Taufik
88-L Mi SS). ~ Abstract from the population registry as of

’ i] yet ssat Sept. 6, 2005, for Muhamad Taufik

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94-B Packet of 27 photos of crime scene at
Netzarim Junction
130514
95-A ale Aus 208 Viouy | Rue coe | L 17 photos of third device - Beit Lid
ant Orkic 132112
95-B ee ‘ Crime scene photos of Beit Lid taken from
15 mM Draka we Forensic Report
Ravdc, 132114
95-C Selected photos taken from Forensic Report
for Damian Rosovsri
130967
ce Alin oe Pee : pF CAV
460 418 aus Bog 208 A Dra Oycceck a
96-A Bomb tech report - Jenin incident
182111
96-8 Photos taken from Forensic Pathology
reports - Jenin incident
130982-83

97-A dia SIN 3086 “+ cen Can Fl Atal Kfar Darom - photograph of Alicia OA 2)
97-B ile JuN 2909 Yesors PUTA Videotape of aftermath of Kfar PaO 184) |
. JUN 2b A | AL AAI, Pack hotos of cri
% Cg A Wy As COL) Packet of 15 photos of crime scene at Kfar
Lge! S 4
i.
98-A Dizengoff - Two photographs -
Lawrence and Gail Belkin and
Gail Belkin and Sylvia Bernstein
98-B Photo of Asaf Wax
98-C Two photographs of Hadas Dror
98-D Two photegraphs of inert device
98-E Packet of 11 crime scene photos at
Dizengott
98-F Diagram of crime scene at Dizengoff
120677

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99-A Photos taker from Forensic report on body
| of Yusef Zghazer - Mahane Yehuda Market -
1998
120662 |]
99-B Fingerprint reports of Yussef Muhammed
Zghazer and Suliman

99-C 11/13/98 edition of Al-Esteqlal with claim of
responsibility for attack at Mahane Yehuda
Market 1998

130438

T-89-C English transiation of above exhibit

99-D Bomb tech report and police document
132007, 130048

100-A Video of crime scene at Mahane Yehuda
(2000)
700-B Photos on disk from crime scene including

recovered items

1O1-A Video of crime scene at French Hill

101-B Hand drawn map

101-C Photo of Shoshana Ben-Yishai

A BaD Fle ly ane cand Ee reled Zour (C.F ES : :
20 , i "e AUG O aet Plarcl on Py Packet of 13 crime scene photos at Megiddo
Wie Ni, 8 Yarey Padi d wi NEM. Bes Junction

jor oP see as Yorn Fadida

103-A Video tape (redacted) of Karkur bomb scene
180877

103-B Packet of 12 crime scene photos at Karkur
130487

104 CD of crime scene and scene photos at

Hebron

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105 ong Jie Cot Wy SECM Chart of Pertinent Bank Accounts
106 $4 SEP 20 Miche el Ww Ysce key Summary of MAN Account at Barnett (#4)
107 oy aan Mii cla cl A yo be ko Summary of MAN Account at Bamett (#7)
108-A ee AA abe ree AL Se tL , | Summary of MAN Account at USF FCU
6 4] Se pV bE cin tee. { V ° y secs (#11) ¥

108-B 6 SORT a bape e. j Lue cock. : Summary of MAN Account at USF FCU

pricing ¢ f (#12)
108-C o AArclane | Lyeticle : Summary of MAN Account at USF FOU

pee Cee / | G3)

; TT
hosp 3 PAL CAG ef LXV y SOCK
109 o 4 Michael Wy socla Summary of SAA Account at BOA (#14)
110 8 HPAL CREE ind yo tle, Summary of SAA Account at BOA (#15)
Aq cee fe lator inn Fy — —
111 G psc ON Vichaet Uy Sock “| summary of SAA/TAK Account at BOA (#16)
112 a4 sso BaP ich oel Vy oc | Summary of STH Account at FUNB (# 17)
HB AC og cP Bi mMicaaet Wiysocle: | summary of CP Account at FUNB (23)
114-A Op SEPT aN Pe Cid Wy Sec -i | Summary of MWS Account at FUNB (#24)
114-B vs fs Ey claa <! LAs Ys! cul Summary Analysis of MWS statements of
“P ° j money owed

114-C 81 SEP MBlAvr ch cet VAR fac sok / Detailed Spread Sheet of Expenses for

/ MWS Account #24
115 S eM | MVE NL WW y Sedky Summary of WISE Account at BOA (#30)

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116 eeleg sce ra Chae oe ( Summary of incoming International Deposits
aa uy a US 0 cle | to Pertinent Accounts
HWA 07 208 [PY ¢ oR Sele | Gevised versione F YT
117 - ae AL Chae ( Chart showing deposits to accounts
G ° 2h05 coe ake owned or controlled by MAN
WAYS © CoN (Compensation/Support)
418 2 Mw iclhaaet \ Chart showing deposits to accounts
tAriianrl | owned or controlled by RAS
Ay 4 EL :
WV Yoe Oe (Compensation/Suppert)
|
. of Gn SATE . . .
119 of aug pe icine % \ Chart showing deposits to accounts
: oe owned or controlled by STH i
Af eos
Vs / soc (Compensation/Support)
120 ant pel icinadt | - Chart showing deposits to accounts
Ma USOC ky owned or controlied by BMN
Vs y FEN (Compensation/Support)
121 OB Michaclh Wysece’ | chan showing payments to GZB
122 ns alerp 2008 pay Cha cl la’ y> é colt Chart showing WISE payments to STH
“Ou in 1993-1995
123-A ae are Mi Chae c| Wi y sce <.' | Chart showing receipt and disbursement by
vos wees MAN of $95,800 wire transfer in March, 1993
(OA 39)
123-B . a ( Barnett Bank Statement, dated 04/07/93, for
Co ory LCN Ce : ,
07 JEP 2085 pyr in af. MAN Acct #7, showing deposit of an
We yor ae! incoming wire transfer on 03/12/93
(OA 39, 224)
123-C hrs (ela eL { Barnett Bank Check 102, dated 3/19/93,
, drawn on MAN Acct #7, signed by MAN, in
VW oy So cle the amount of $36,000, payable to WISE
(OA 39, 224)

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/123-D . | Barnett Bank Check 103, dated 3/19/93,
emt VMigplane. drawn on MAN Acct #7, signed by MAN, in
O49 SEP 2005 { V chu Sots the amount of $24,000, payable to MAN
Wi ysocic (OA 39, 224)
123-E \ Barnett Bank Check 104, dated 3/19/93,
§ 7 CPN LA el drawn on MAN Acct #7, signed by MAN, in
A, the amount of $24,000, payable to RAS
LAY YSeCrs (loan)
é (OA 39, 224)
123-F Aaval - USF FCU Statement, dated 3/31/93, for
29) SEP 2005 fx \ ch a = ( MAN Acct #12, showing deposi of $24,000
ALS OCC! on 3/22/93 -- Check 103
wy ~ (OA 39, 224)
123-G bea Nationsbank Statement, dated 3/31/93, for 4]
A Puch &e WISE Acct #30, showing deposits of Checks
has ~ abe i 102 and 104 totaling $60,000
LA ‘
Uv YS ee lu (OA 39, 224)
423-H . tice | NCNB Deposit Ticket, dated 3/22/93, for
PAC a oF, WISE Acct #30, showing deposits of Checks
AY SoCle i 102 and 104
J
123-1 Seles zee P Petri Chae { . Deposit items supporting NCNB Deposit
Sp vs se cle | Ticket, including Checks 102 and 104
7
124-A} Lc ony Atria el iy sock | Chart showing $52,000 financial transaction
6 B SEP 28) Miche cl poss on 12/09/91 between SAA and GZB
: {OA 14)
124-B eo pb ers SPB); ies eA \Af ly sock. ; NCNB Bank Statement, dated 12/24/91, for
pe ET BALL i Account #16, showing $52,000 debit on
12/10/91
(OA 11) ff
124-C fo pcre one lan icin ¢ LAafysecks NCNB Customer Debit Advice, dated
fo ART ONG ct } 12/09/91, showing SAA purchased two
cashier's checks in the amounts of $7,000
and $45,000 respectively, payable to
: odes \ Ghassan Ballut
LY he, F AM i ane’ UW y oe e| {OA 11)
i a ,_ Penime | ne gQeMOren OC eL
4G Mcchncl Wysedc [pies F ejereted Hecke
125-A @ koe TS nnd che el al Yar be ; | Chart showing $15,015 financial transaction
yo wees j > **~" | on 04/08/92 between MAN, WISE and BMN
(OA 13)

i ~<

MS chad Wyseckt peo sed versten of 128-4

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125-B Mich oe). NCNB Bank Statement, dated 11/26/91, for
a : - Account #16, showing payment of checks
" Yl \ | ZoCll 944, 945 and 946
(OA 13)
125-C naichee | wy soc, | NCNB Check 0944, dated 11/03/91, drawn
' ~ on Account #16, signed by SAA, in the
amount of $25,000 payable to WISE and
deposit ticket for WISE Account #30
(OA 13)
125-D Michactl Wy Ssecic: | NCNB Check 0946, dated 11/10/91, drawn
; on Account #16, signed by SAA, in the
amount of $19,990, payable to WISE and
deposit ticket for WISE Account #30
(OA 13)
125-E ten e\ NCNB Bank Statement, dated 01/31/92, for
v PAs cre . WISE Account #30, showing check 1219 for
Wryee clo $15,015 was paid
{OA 13)
125-F NCNB Check 0945, dated (illegible), drawn
PMLA CA aC! on TAK Account #16, signed by SAA, in the
, ocl - amount of $25,000, payable to WISE and
VAY y Dee deposit ticket for WISE Account #30
(OA 13)
125-G AL tél ga t NCNB Check 1219, dated 01/08/91 (sic),
ia/y soe kot drawn on WISE Account #30, signed by
MANY SCOR MAN, in the amount of $15,015, payable to
Cash, cashed by MAN
(OA 13)
125-H Bi pichac!l. NCNB Official Check 241066, dated
Val y S60 io 01/08/92, in the amount of $15,015, payable
“ to MAN
125-1 RAY Ling & Southeast Bank Order for Transfer of Funds,
Soy soci.‘ dated 01/09/92, from MAN Account #8, in the
wh Y eb :
i amount of $15,000, payable to BMN Account
at National Westminster Bank in England
Vite | le,
aso WEN socde
126-A ae wy on G eh : Chart showing $11,250 financiai transaction
Ves bt Atenel on 02/24/92 between MAN and GZB
ip ae Ct (OA 16)
126-B AA CA t-® USF FCU Bank Statement, dated 04/30/92,
I wes for El Naggar Account #66, showing payment
: : i
“sacle | of Check 124
Ww J? (OA 16)

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126-C + USF FCU Check 124, dated 02/24/92, drawn
A 5s ome | PLE CRASH on El Naggar USF FCU Account #66, signed
eq scp 2005 a oA, by Mohamed Elnaggar, in the amount of

VWs ybOOc! $11,250, payable to Ghassan Ballut
: {OA 16)
26D eqs wel MM \ysed

127-A Awe] \ Chart showing $10,000 financial transaction

mM CHA 8 on 08/30/92 between SAA, ICP and IAF
@ PREP 7o Val y “sn CAC (OA 19)
127-B | FUNB Bank Statement dated 09/30/92, for
le PAL CINE ~ : ICP-IFP Account #23, showing payment of
a glecs .
a ry seclet Check 1020 for $10,000
vw / (OA 19}

127-C wring eo l Barnett Bank Statement, dated 08/31/92, for
ad coo 908 perc nae ( IAF Account #19, showing deposit of
a Aad gues f

Ys y So Cle, $10,695
(OA 19)
127-D nA ok ee ( Barnett Bank Check 1020, dated 08/30/92,
VLECK OES drawn on ICP-IFP Account #23, signed by
won apiele , SAA, in the amount of $10,000, payable to
WY SOOM IAF and deposit ticket
(OA 19}
128-A ey) see 2005 hM c| AG €4 Chart showing $99,990 financial transaction
tee pips on 09/15/92 invelving MAN
UM So Cit (OA 21)
128-8 ct wlan el USF FCU Bank Statement, dated 09/30/92,
a PALO for MAN Account #13, showing receipt of
ea Ley $99,990 on 09/15/92, and withdrawal of
Uv YS OOK $99,500 on 09/21/92
(OA 21)
128-C 69) SE 2005 DAL Che L. USF FCU Memo showing wire transfer of
a $99,990 originated from Arab Bank in UAE
tad usecttU (OA 21)

128-D Aa ° mA) Cat & Barnett Bank Statement, dated 10/07/92, for

Ai cy . MAN Account #7, showing $99,500 deposit
, spc! on 09/18/92 and a $98,500 debit on 09/29/92
4 Yo? (OA 21)

